                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE

   JEREMIAH WALDROP et al.,                             )
                                                        )
            Plaintiffs,                                 )
                                                        )
   v.                                                   )      No. 2:19-CV-00103-JRG-CRW
                                                        )
   CITY OF JOHNSON CITY, TENNESSEE,                     )
                                                        )
            Defendant.                                  )

                                               ORDER

            This matter is before the Court on United States Magistrate Judge Cynthia R. Wyrick’s

   Report and Recommendation [Doc. 118]. Judge Wyrick recommends the Court grant Attorney

   John T. Winemiller’s Renewed Motion for Miscellaneous Relief [Doc. 116]. None of the parties

   has timely objected to the report and recommendation. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

   72(b).

            Having carefully reviewed the record, the Court agrees with Judge Wyrick’s

   recommendation. The Court therefore ACCEPTS IN WHOLE the report and recommendation

   under 28 U.S.C. § 636(b)(1) and Federal Rule of Civil Procedure 72(b). For the reasons in the

   report and recommendation, which the Court adopts and incorporates into this Order, Mr.

   Winemiller’s motion [Doc. 116] is GRANTED. Attorney Rick Nelson is ORDERED, within

   ten days of this Order’s date, to distribute a check to Mr. Winemiller in the amount of $1,000.

            So ordered.

            ENTER:


                                                       s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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